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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    8:13CR252

       vs.
                                                                       ORDER
BRICE LENHARD,

                      Defendant.


       UPON THE ORAL MOTION OF THE DEFENDANT,


       IT IS ORDERED that the Change of Plea hearing is continued to June 26, 2014 at 2:00
p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska
U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.


               For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy Trial
Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).


       Since this is a criminal case, the defendant must be present, unless excused by the Court.




       Dated this 22nd day of May, 2014.

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
